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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                *

               vs.                      *   CRIMINAL NO. MJG-11-0428
                                               (Civil No. 15-3471)
IDA MAE WEATHERS                        *

*          *          *       *         *         *          *         *        *

                            MEMORANDUM AND ORDER

     The Court has before it Petitioner Weathers' Motion to

Vacate or Correct Sentence and the materials submitted relating

thereto.       The Court finds that a hearing is unnecessary at this

time.



I.   BACKGROUND

     On June 10, 2013, Petitioner was convicted on a plea of

guilty to Count 1 (conspiracy to commit bank fraud, 18 U.S.C. §

1349), Count 18 (bank fraud, 18 U.S.C. § 1344), and Count 19

(aggravated identity theft, 18 U.S.C. § 1028A(a)(1),(c)(5)).

     On September 23, 2013, Petitioner was sentenced to 235

months concurrent on each of Counts 1 and 18 and 24 months

consecutive on Count 19 for a total of 259 months. ECF No. 283.

Petitioner appealed and, on August 18,1 2014, the United States

Court of Appeals for the Fourth Circuit affirmed the conviction




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     Amended August 22.
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and sentence.     United States v. Weathers, 581 F. App'x 273 (4th

Cir. 2014), as amended (Aug. 22, 2014).

      By the instant Motion [ECF No. 422], timely filed, pursuant

to 28 U.S.C. § 2255, Petitioner seeks to have her conviction and

sentence vacated.



II.   DISCUSSION

      A.   Grounds Asserted

      Petitioner asserts that she was denied the effective

assistance of counsel.         Mot. 1, ECF No. 422.

      In order to prevail on a claim that counsel's

representation violated her Sixth Amendment right to effective

assistance of counsel, Petitioner must show (1) "that counsel's

representation fell below an objective standard of

reasonableness,"2 and (2) "that there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the

proceeding would have been different."          Strickland v.

Washington, 466 U.S. 668, 687-88, 694 (1984).            "A reasonable

probability is a probability sufficient to undermine confidence

in the outcome [of the proceedings]."          Id. at 694.

      Petitioner bases her ineffective assistance claim on

counsel's alleged failure to:

2
     Thus overcoming a presumption that counsel's conduct (i.e.,
representation of the criminal defendant) was reasonable. See
Strickland v. Washington, 466 U.S. 668, 687-88 (1984).
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          1.      Adequately investigate and present matters
                  pertaining to her personal history in mitigation
                  of the sentence.

          2.      Adequately advise her regarding a plea agreement
                  offered by the prosecution.

     These contentions will be addressed in turn.


     B.   Personal History

     Petitioner organized and led a criminal conspiracy that

regularly engaged in a highly effective theft scheme for more

than five and half years using a modus operandi dating back to

at least 1994.3    Essentially, the conspirators would victimize

women utilizing toilet facilities in ladies' restrooms in

stores.   A conspirator would occupy the stall next to a victim

who had hung her purse on the door.         The conspirator would

attract the victim's attention, typically by asking the victim

if she would provide her with toilet paper to use.            While the

victim was distracted, another conspirator (often, if not

always, Petitioner herself) would reach over the door and obtain

the victim's credit cards.     Promptly upon obtaining the credit

cards, other conspirators would fan out in the store and

immediately proceed to charge purchases, including gift cards,

before the victim became aware of the theft.




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     Weathers, 581 F. App'x at 277 & n.*.

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    The Court's determination that the Guideline Offense Level

for Petitioner was 28 has been affirmed on appeal.           Petitioner's

Criminal History "score" was 32 Points.       The Guidelines provide

for the highest Criminal History Category VI for a defendant

having 13 Points.   With Offense Level 28 and Criminal History

Category VI, the Guideline range for Counts 1 and 18 was 140-175

months.   The Court varied upward by 60 months from the

Guidelines range to 235 months for Counts 1 and 18.           As stated

by the Court at sentencing:

               I just do not see this as an ordinary
          crime. I think that the sentence has to
          have a factor to regretfully ensure that the
          public is protected against Ms. Weathers,
          those she can supervise, at any age. I wish
          her a long and healthy life.
               But, this is not a person that I can
          predict is going to come out and not get
          back into this scheme or who knows what the
          scheme will be at that time?

Sentencing Tr. 142:22-143:3, Sep. 23, 2013, ECF No. 322.

    The appellate court affirmed the variance, stating:

               We hold that the district court
          fulfilled its obligation under Diosdado–
          Star.4 The court imposed the variance based
          primarily on the nature of the offense and
          Weathers' extensive criminal history. With
          respect to the offense, the district court
          spoke of its "incredible range and
          continuous professional program of criminal
          activity" as well as its impact on victims.

4
     United States v. Diosdado–Star, 630 F.3d 359, 364 (4th Cir.
2011).


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          The court stated that there was a need to
          protect the public from Weathers, who
          previously had committed numerous offenses
          using a similar modus operandi.

                We accordingly affirm.

Weathers, 581 F. App'x at 277 (footnote omitted).

    By the instant motion, Petitioner states that her trial

attorney was ineffective for failing to present information

regarding her personal history and mental condition.           The Court

has considered Petitioner's submission and will assume that,

were she financially able to do so, she would present expert

testimony to establish that her unfortunate personal history was

a substantial causal factor of her criminal conduct.           On that

assumption, there might be some basis to attribute some of the

blame for Petitioner's life of crime on her upbringing and

background.   However, that information would not have, at

sentencing, and does not now, persuaded the Court that the

sentence should be any less than was imposed and affirmed on

appeal.



    C.    Offered Plea Agreement

    In the Motion, Petitioner notes that on April 30, 2013, she

was offered a plea agreement and stated:

               If Weathers had accepted the Government's
          offer, her adjusted offense level after
          acceptance of responsibility would have been
          22. With her Criminal History Category of

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          [VI], her Guidelines range for Count One would
          have been 84 to 105 months, and the Court
          would have imposed an additional 24 months of
          imprisonment for the aggravated identity
          theft. [] Therefore, her Guidelines range
          would have been 108–129 months.

               Weathers, not fully understanding the
          exposure she faced, rejected the proposed Plea
          Agreement and elected to go to trial.

Mot. 3-4, ECF No. 422.

     Petitioner presented no evidence with the Motion to support

the statement that she did not understand the exposure she faced

when she rejected the offer and decided to proceed to trial.

     In the Government's Response, Government counsel stated, as to

Petitioner's plea negotiation contention: "There are no specifics

and no supporting affidavit, just a bald assertion . . . ."           Resp.

8, ECF No. 436.

     It was only in her Reply that Petitioner presented any

evidence to support her contention.    What she presented was a two

sentence paragraph in her affidavit that stated:

               With respect to sentencing exposure,
          Mr. Hannon never told me that I was facing
          and could actually be sentenced to more than
          twenty years. I believed, based on Mr.
          Hannon's statements, that I was facing much
          less than twenty years. I would have
          accepted the Government's original plea
          offer had I known that a sentence of more
          than twenty years was a realistic
          possibility.

Reply, Affidavit ¶ 7, ECF No. 441-1.

     If, on a § 2255 motion, the motion and the files and

records of the case do not conclusively show that the prisoner


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is not entitled to relief, the court must make findings of fact

and conclusions of law regarding the issues presented. 28 U.S.C.

§ 2255.

       Petitioner contends "there is a factual dispute regarding

Hannon's advice with respect to Weathers' exposure at sentencing,

which led Weathers to reject the Government 's original offer and

ultimately plead guilty without an agreement."          Reply 12, ECF No.

441.

       There may be a genuine factual dispute regarding Petitioner's

plea agreement contention.        However, the record – as it now

exists – is insufficient for the Court to determine whether

there is one.      Her presentation of two conclusory sentences in

an affidavit filed after the Government responded to the motion

did not afford Government counsel an opportunity to address the

matter.

       Under the circumstances, the Court shall require Petitioner

to file a supplemental memorandum with evidence (which can

include her own affidavit) presenting, in reasonable detail,

what she states was communicated between Mr. Hannon and herself

regarding the offer and rejection of the plea agreement with any

other evidence supporting her contention.           The Government will

then have the opportunity to present evidence (which can include

an affidavit from Mr. Hannon) in response.




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    The Court will, thereafter, determine whether an

evidentiary hearing is required in regard to Petitioner's plea

agreement contention.



III. CONCLUSION

    For the foregoing reasons:

          1.    Petitioner's Motion to Vacate or Correct Sentence
                [ECF No. 422] is DENIED in part and REMAINS
                PENDING IN PART.

                a.   Petitioner's contention that she was denied
                     the effective assistance of counsel with
                     regard to the presentation of sentence
                     mitigation is DENIED.

                b.   Petitioner's contention that she was denied
                     the effective assistance of counsel with
                     regard to the rejection of a plea agreement
                     REMAINS PENDING.

          2.    Petitioner shall, by July 29, 2016, file a
                Supplemental Memorandum with evidence regarding
                her contention concerning the denial of a plea
                agreement.

          3.    The Government shall, by August 29, 2016, respond
                to the said Supplemental Memorandum.


    SO ORDERED, this Friday, June 10, 2016.



                                                  /s/__________
                                            Marvin J. Garbis
                                       United States District Judge




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